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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LONTEX CORPORATION,                                                  CIVIL ACTION

          v.                                                         NO. 18-5623

NIKE, INC.

                                       ORDER CLARIFYING SCHEDULE

          AND NOW, on this 8th day of January, 2020, correcting an inadvertent error in the

Scheduling Order (ECF 113) it is hereby ORDERED:

          1.        Objections (without briefs) to the Report and Recommendation shall be filed 2:00

p.m. on January 17, 2020.

          2.        The recorded telephone conference will be held as scheduled on January 21, 2020

at 3:30 p.m. but the Court may delay ruling until briefs are filed.

                                                                        BY THE COURT:


                                                                        /s/ Michael M. Baylson
                                                                        MICHAEL M. BAYLSON, U.S.D.J.
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